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                        Exhibit 20
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                                           Tabulation Summary



                                         ACCEPT                              REJECT
    VOTING CLASS
                             AMOUNT                 NUMBER      AMOUNT                NUMBER
                               (%)                    (%)         (%)                   (%)

    Class 4
    Channeled Talc          $77,998.00               77,998     $15,524.00             15,524
    Personal Injury          (83.40%)               (83.40%)     (16.60%)             (16.60%)
    Claims



    Class 7 1                 100.00%                  1          0.00%                   0
    Equity Interests in
                             (100.00%)             (100.00%)     (0.00%)              (0.00%)
    the Debtor




1
    One entity holds 100% of the membership interests.
